Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 1 of
                                     10




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-02241-PAB-KAS

  BRIAN LITTLEFIELD,

         Plaintiff,

  v.

  WELD COUNTY SCHOOL DISTRICT RE-5J, a political and quasi-municipal
  subdivision,
  LESLIE ARNOLD, individually and in her former official capacity as Superintendent, and
  CARA ANDERSON, individually and in her former official capacity as Assistant
  Superintendent of Human Resources,

       Defendants.
  _____________________________________________________________________

                                  ORDER
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KATHRYN A. STARNELLA

         This matter is before the Court on Plaintiff’s Motion to Modify Scheduling Order

  to Reopen Discovery to Take Further Deposition of Weld County School District’s

  30(b)(6) Representative [#118] (the “Motion”). Defendant Weld County School District

  RE-5J (the “District”) filed a Response [#125] in opposition to the Motion [#118]. No replies

  were permitted. See Minute Order [#116]. The Motion [#118] has been referred to the

  undersigned. See Memorandum [#119]. The Court has reviewed the briefs, the case file,

  and the applicable law. For the following reasons, the Motion [#118] is DENIED.

                                 I. Procedural Background

         Plaintiff alleges that Defendants Leslie Arnold (“Defendant Arnold”) and the District

  violated his rights under the First Amendment, Title VII of the Civil Rights Act of 1964,

  and Colo. Rev. Stat. § 24-34-402. See Motion [#118] at 2. A Scheduling Order [#24] was
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 2 of
                                     10




  entered in this matter on November 30, 2022, and has since been amended several times

  to extend various discovery deadlines. See Minute Orders [## 64, 93, 99, 105, 111, 115].

         As relevant here, on February 14, 2024, Plaintiff provided the District’s legal

  counsel a list of proposed Rule 30(b)(6) deposition topics. Motion [#118] at 2. The list

  included 26 topics, including Topic #7: “[a]ny and all complaints that the District received

  concerning [Defendant] Arnold, whether such complaints were investigated, and the

  outcome of such investigations.” 30(b)(6) Topic List [#118-1] at 2. The District did not

  immediately object and its 30(b)(6) deposition was set for March 20, 2024. Motion [#118]

  at 2; see generally Email and Notice of Depo. [#118-2]. On March 12, 2024, the District’s

  counsel provided a list of objections. Motion [#118] at 2; Objections to 30(b)(6) Notice

  [#118-3]. The parties conferred about the objections, though the deposition proceeded as

  scheduled without the District seeking a protective order. Motion [#118] at 2; Conferral

  Emails [#118-4].

         Plaintiff argues that the District’s counsel improperly objected to questioning of its

  30(b)(6) deponent, Tami Kramer, relating to Topic #7, even after Plaintiff’s counsel

  provided Ms. Kramer with a copy of the Declaration of Michael Wailes, the President of

  the District’s Board of Education. Motion [#118] at 3-4; 30(b)(6) Dep. Transcript [#118-5]

  at 109:16-25; Decl. of Wailes [#118-6]. Mr. Wailes’ declaration referenced “complaints

  from various individuals about [Defendant] Arnold’s leadership of the District,” including

  “allegations that [Defendant] Arnold had a ‘hit list’ of employees she wanted to get rid of

  for opposing her; had poor communication skills; created a hostile work environment; and

  targeted employees who supported or associated with [Plaintiff].” Decl. of Wailes [#118-

  6], ¶ 7. Plaintiff argues that Mr. Wailes’ declaration confirms that the District had

                                               2
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 3 of
                                     10




  knowledge of complaints against Ms. Arnold, despite Ms. Kramer’s contrary testimony as

  its 30(b)(6) designee. Motion [#118] at 5. Plaintiff argues that the District failed to produce

  a witness prepared to testify on Topic #7. Id. at 6.

         Meanwhile, on April 17, 2024, nearly one month after the at-issue deposition, the

  parties filed a Joint Motion to Stay Discovery [#109] representing that they had “completed

  all discovery in this case and jointly agree that a settlement conference is warranted.”

  Joint Motion to Stay [#109], ¶ 2. Relying on that representation, the Court extended the

  dispositive motions deadline and set a settlement conference for June 10, 2024. See

  Minute Order [#111] at 1 (“Given the date of the [settlement] conference and the parties’

  representation that all discovery is complete, the Court will reset the dispositive motions

  deadline to a date certain, a few weeks after the conference.”). The June 10, 2024

  settlement conference did not result in settlement. Minute Entry [#112].

         On June 17, 2024, the parties sought another extension of the dispositive motions

  deadline and a continuance of the Final Pretrial Conference, again without mentioning

  any disputed discovery issues. See generally Stipulated Motion to Modify Scheduling

  Order [#113]. The Court granted the Stipulated Motion [#113], extended the dispositive

  motions deadline to August 1, 2024, and reset the Final Pretrial Conference to September

  12, 2024. Minute Order [#115]. Finally, on July 23, 2024, Plaintiff emailed Judge

  Starnella’s Chambers about this disputed discovery issue. See Minute Order [#116]. The

  Court permitted Plaintiff to file a motion seeking to reopen discovery and set a deadline

  for Defendant’s response, but no replies were permitted. See id. at 1-2. The Court

  cautioned the parties that it was “not inclined to grant further extensions to the dispositive

  motions deadline or another continuance of the Final Pretrial Conference.” Id. at 2.

                                                3
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 4 of
                                     10




         Plaintiff now moves to reopen discovery “for the limited purpose of allowing the

  Plaintiff to take the District’s 30(b)(6) deposition[.]” Motion [#118] at 14. Meanwhile, on

  August 1, 2024, the District and Defendant Arnold each filed summary judgment motions.

  See Arnold MSJ [#117]; District MSJ [#120].

                                      II. Legal Standards

         Whether to extend or reopen discovery is committed to the trial court’s sound

  discretion. Smith v. United States, 834 F.2d 166, 169 (10th Cir. 1987) (citations omitted).

  Courts consider several factors, including: “1) whether trial is imminent, 2) whether the

  request is opposed, 3) whether the non-moving party would be prejudiced, 4) whether the

  moving party was diligent in obtaining discovery within the guidelines established by the

  court, 5) the foreseeability of the need for additional discovery in light of the time allowed

  for discovery by the district court, and 6) the likelihood that the discovery will lead to

  relevant evidence.” Id. (citations omitted).

         Plaintiff’s Motion [#118] also asks the Court to modify the Scheduling Order [#24],

  which “may be modified only for good cause and with the judge’s consent.” Fed. R. Civ.

  P. 16(b)(4). However, in the context of a motion to reopen discovery, “the Smith factors

  effectively replace rule 16’s ‘good cause’ standard—or, perhaps more accurately, the

  Smith factors are dispositive as to how good cause applies in motions to reopen; either

  way, no separate good cause analysis is needed.” Anderson Living Trust v. WPX Energy

  Prod., LLC, 308 F.R.D. 410, 440-41 (D.N.M. 2015).

                                          III. Analysis

         Plaintiff argues that all six Smith factors favor reopening discovery. Motion [#118]

  at 8-12. Notably, he argues that the District will not be prejudiced by reopening its Rule

                                                 4
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 5 of
                                     10




  30(b)(6) deposition because it already possessed information relevant to Topic #7. Id. at

  9-10. He argues that he acted diligently in obtaining discovery because he took the

  30(b)(6) deposition before the discovery cut-off and diligently attempted to ask Ms.

  Kramer about Topic #7. Id. at 10. Plaintiff explains that “[i]n reducing cost of litigation in

  the interest of settlement, this particular discovery motion was tabled until it appeared that

  settlement may not occur before motions for summary judgment were to be filed.” Id.

  Finally, he argues that it is likely that further questioning of the District into Topic #7 is

  likely to lead to relevant evidence. Id. at 11-12.

         The District argues that the Smith factors do not favor reopening discovery where

  “Plaintiff had several months to bring this issue to the Court’s attention but failed to do so”

  because he “unilaterally chose to ‘table’ this Motion for 142 days, under the pretext of

  reducing litigation costs while exploring settlement possibilities[.]” Response [#125] at 1,

  2. The District argues that it would be significantly prejudiced because it would disrupt the

  case schedule, including summary judgment motions that were just filed. Id. at 5-6. It also

  argues that Plaintiff was not diligent in bringing this matter to the Court’s attention but

  instead deliberately and unilaterally chose to “table” the issue for months. Id. at 6-7.

  Finally, the District questions whether a renewed 30(b)(6) deposition would yield any

  relevant discovery and maintains that its designee appropriately prepared and appeared

  for the March 20, 2024 deposition. Id. at 9-12.

  A.     Imminence of Trial

         The Court finds the first Smith factor—whether trial is imminent—is mixed, given

  the procedural posture of this case. Plaintiff is correct that no trial date has been set, but

  this case has been pending for two years, the final pretrial conference is less than a month

                                                5
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 6 of
                                     10




  away, and Defendants Arnold and the District have filed summary judgment motions. See

  Minute Order [#115] (setting Final Pretrial Conference on September 12, 2024); Arnold

  MSJ [#118]; District MSJ [#120]. Reopening discovery would certainly disrupt this case,

  even though trial has not been set. Cf. Jama v. City & County of Denver, 304 F.R.D. 289,

  301 (D. Colo. 2014) (finding, in the context of motion for Rule 37(c) sanctions, that

  “[a]lthough there is no trial date set in this case, . . . there has been, and will continue to

  be, significant disruption and delay to the prompt and expedient resolution of this matter

  as a result of the [p]laintiffs’ untimeliness.”). Nonetheless, because no trial date has been

  set, this factor weighs in favor of reopening.

  B.     Opposition

         Regarding the second Smith factor, the Motion [#118] is opposed, which weighs

  against reopening discovery.

  C.     Prejudice to the District

         The Court finds that the third Smith factor, prejudice to the non-moving party,

  weighs strongly against reopening discovery. The District has filed a summary judgment

  motion based on the current record, and multiple district courts in this circuit have held

  that reopening or supplementing discovery after summary judgment motions are filed

  constitutes prejudice. See Jama, 304 F.R.D. at 300-301 (finding the defendant city had

  been prejudiced by late disclosures which mooted its summary judgment motion); Zhou

  v. Pittsburg State Univ., 252 F. Supp. 2d 1194, 1207 (D. Kan. 2003) (“Given the posture

  of the case—discovery has closed and defendant has filed a summary judgment motion—

  defendant would be prejudiced if discovery were reopened.”). Moreover, reopening

  discovery to permit a renewed 30(b)(6) deposition of the District will likely moot the filed

                                                6
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 7 of
                                     10




  summary judgment motions and create additional discovery disputes. The prejudice

  factor weighs strongly against reopening discovery.

  D.     Plaintiff’s Diligence

         The Court turns to the fourth Smith factor—Plaintiff’s diligence in seeking the

  requested discovery. Plaintiff admits that “the at-issue questions that are now the subject

  of this motion were explored during the March 20th deposition” and that he chose to “table”

  the issue for nearly four months, “until it appeared that settlement may not occur until

  before motions for summary judgment were to be filed.” Motion [#118] at 10.

         Meanwhile, in the months following the District’s 30(b)(6) deposition, Plaintiff jointly

  filed two motions with the Court, both representing that discovery was complete and

  failing to mention any remaining disputes. See Joint Motion to Stay [#109]; Stipulated

  Motion to Modify Scheduling Order [#113]. As Defendant argues, “[s]ettlement

  discussions can occur concurrently with other ongoing litigation activities, and

  participating in such discussions does not justify the Plaintiff’s failure to file in a timely

  manner.” Response [#125] at 7. Indeed, Plaintiff’s only explanation for the delay is that

  he chose to table the issue pending settlement, and that he only revived it when

  settlement appeared unlikely. Motion [#118] at 10. This was not merely a failure of

  diligence, it was a deliberate litigation tactic, and Plaintiff must live with the consequences.

  See Cashner v. Freedom Stores, Inc., 98 F.3d 572, 577 (10th Cir. 1996) (“A party who

  takes deliberate action with negative consequences . . . will not be relieved of the

  consequences . . . when it subsequently develops that the choice was unfortunate.”)

  (quotation omitted); Anderson Living Trust, 308 F.R.D. at 428 (“Courts will not grant relief

  when the mistake of which the movant complains is the result of an attorney’s deliberate

                                                 7
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 8 of
                                     10




  litigation tactics.”); Mann v. Fernandez, 615 F. Supp. 2d 1277, 1288-89 (D.N.M. 2009)

  (declining to reopen discovery where the movant’s failure to designate an expert had been

  a “strategic decision”). Plaintiff’s deliberate decision and lack of diligence weigh strongly

  against reopening discovery.

  E.     Foreseeability

         Next, the Court considers the fifth Smith factor, foreseeability of the need for the

  additional discovery in the time previously allowed by the court. Plaintiff argues that he

  could not have anticipated the 30(b)(6) deponent’s failure to prepare on Topic #7, but this

  views the issue too narrowly. Motion [#118] at 11. Instead, the question of foreseeability

  hinges on whether the moving party could have anticipated the need for this particular

  discovery during the timeframe previously set by the court. See, e.g., Skyline Potato Co.,

  Inc. v. Tan-O-On Mktg., Inc., 285 F.R.D. 617, 631 (D.N.M. 2012) (finding the fifth Smith

  factor weighed in favor of discovery because “it was not foreseeable that . . . [the p]laintiffs

  would need additional time to take the deposition of a Kroger Co. representative who

  could testify about the use of [the defendant’s] Kroker Co. vendor number”); but cf. Arup

  Lab’ys, Inc. v. Pac. Med. Lab’y, Inc., No. 2:20-cv-00186, 2022 WL 280782, at *3 (D. Utah

  Jan. 31, 2022) (denying motion to reopen discovery where “the need for this discovery

  was foreseeable before the deadline expired”); Tracy v. Youth Health Assocs., Inc., No.

  1:20-cv-88, 2021 WL 2379636, at *2 (D. Utah June 9, 2021) (finding that the need for

  particular documents was foreseeable where “it appear[ed] [p]laintiff was aware of this

  issue from its own discovery request”).

         Here, Plaintiff’s need for information about Topic #7 was foreseeable before the

  discovery closed, as indicated by Plaintiff including Topic #7 in his 30(b)(6) topics list. See

                                                 8
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 9 of
                                     10




  30(b)(6) Topic List [#118-1] at 2; Tracy, 2021 WL 2379636, at *2. Even if Plaintiff could

  not have foreseen that Ms. Kramer, the District’s 30(b)(6) deponent, would be unprepared

  to testify about the Wailes declaration and Topic #7, Plaintiff’s need for this information

  was foreseeable and he should have acted promptly and diligently when it became clear

  to him that Ms. Kramer did not have it. See Tracy, 2021 WL 2379636, at *2 (“Failing to

  seek such information until now demonstrates a lack of diligence and [the p]laintiff offers

  no credible excuse for this failure.”) (citing Stevenson v. Salt Lake Cnty., No. 2:12-cv-44-

  PMW, 2014 WL 1819660, at *2 (D. Utah May 7, 2014)). Thus, the Court finds that this

  factor strongly weighs against reopening discovery.

  F.     Likelihood of Relevant Evidence

         Finally, the Court finds the sixth Smith factor—the likelihood that the discovery will

  lead to relevant evidence—favors reopening discovery. Plaintiff explains that discovery

  into complaints the District’s Board had received about Defendant Arnold may lead to

  relevant evidence such as “(1) were the complaints the District received about

  [Defendant] Arnold having a ‘hit list’ inclusive of [Plaintiff] as a target[;] (2) if so, what did

  the District do with that information; (3) what course of action did the District take to protect

  employees from [Defendant] Arnold; and (4) why leave [Defendant] Arnold as [Plaintiff’s]

  direct supervisor in deciding his removal as head principal back on April 29, 2021?”

  Motion [#118] at 11-12. Plaintiff contends that this “information is also relevant as it may

  also rebut [Defendant] Arnold’s claim that [Plaintiff] was involved in the District’s decision

  to get her terminated.” Id. at 12. The Court agrees that discovery into Topic #7 and the

  Wailes declaration is reasonably likely to lead to relevant information, so this factor

  weighs in favor of reopening discovery.

                                                  9
Case No. 1:22-cv-02241-PAB-KAS Document 126 filed 08/19/24 USDC Colorado pg 10 of
                                      10




         In summary, the Court finds that just two Smith factors favor reopening discovery

  while the remaining four factors weigh against reopening. The Court cannot overlook

  Plaintiff’s lack of diligence in filing the Motion [#118], nor can it ignore the fact that Plaintiff

  clearly foresaw the purported importance of Topic #7 and the Wailes declaration. Yet

  Plaintiff waited almost four months to raise this disputed discovery dispute while

  repeatedly telling the Court that discovery was complete. This was, by his own admission,

  a deliberate choice and he must live with the consequences. Plaintiff offers no credible

  excuse for his delay in raising this issue. Accordingly, in the Court’s discretion, the Motion

  [#118] is denied.

                                           IV. Conclusion

         Based on the foregoing,

         IT IS HEREBY ORDERED that Plaintiff’s Motion to Modify Scheduling Order to

  Reopen Discovery to Take Further Deposition of Weld County School District’s 30(b)(6)

  Representative [#118] is DENIED.

         Dated: August 19, 2024                                BY THE COURT:




                                                               Kathryn A. Starnella
                                                               United States Magistrate Judge




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